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Plalntll'l'.
vs. Civil Action No. 03-2831 Ml V

Retail Ventures, LLC and
Lifestyle Ventures. LLC,

Defendants.

 

ORDER GRANT|NG PART|ES' SECOND JO|NT MOT|ON FOR REVIS|ON OF
SCHEDUL|NG ORDER

 

Before the Court is the Farties' Seoond Jolnt Motion for Revision crl' Schedullng
Order. For good cause shown, the parties’ motion is GRANTED. Aooordingly,
(a) the parties shall report to the Court on the status of their settlement
negotiations by no later than July 25. 2005; and
(b) the parties shall submit to the Court a proposed revised scheduling
` order for completing discovery and filing dispositive motions by no
later than July 25, 2005 in the event that they are unable to reach a
settlement
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. 2005.

Jon hipps MoCal|a
U D STATES DlSTRlCT JUDGE

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with Rule 58 andlor ?9(3) F-'FiCP on

 

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This notice confirms a copy of the document docketed as number 17 in
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ESSEE

 

Reva M. Kriegel

LAW OFFICE OF REVA M. KRIEGEL
266 S. Front St.

Ste. 206

Memphis7 TN 38103

Timothy S. Bland

FORD & HARRISON, LLP- Ridge Lake Blvd.

795 Ridge Lake Blvd.
Ste. 300
Memphis7 TN 38120

Herbert E. Gerson

FORD & HARRISON, LLP- Ridge Lake Blvd.

795 Ridge Lake Blvd.
Ste. 300
Memphis7 TN 38120

Honorable J on McCalla
US DISTRICT COURT

